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  DISTRICT COURT, WATER DIVISION NO. 5,                      DATE FILED: November 15, 2013 5:06 PM
                                                             FILING ID: 2FDAC5E9F1869
  COLORADO                                                   CASE NUMBER: 2013CW3077
  Garfield Co. Courthouse
  109 8th Street, Suite 104
  Glenwood Springs, CO 81601

  ____________________________________________________
  CONCERNING THE APPLICATION OF THE UNITED
  STATES OF AMERICA, THE CITY AND COUNTY OF                          COURT USE ONLY
  DENVER, ACTING BY AND THROUGH ITS BOARD OF
  WATER COMMISSIONERS, THE CITY OF COLORADO
  SPRINGS, ACTING THROUGH ITS ENTERPRISE
  COLORADO SPRINGS UTILITIES, THE COLORADO
  RIVER WATER CONSERVATION DISTRICT, THE
  NORTHERN COLORADO WATER CONSERVANCY
  DISTRICT, THE MIDDLE PARK WATER CONSERVANCY
  DISTRICT, THE GRAND VALLEY WATER USERS
  ASSOCIATION, THE ORCHARD MESA IRRIGATION
  DISTRICT, THE GRAND VALLEY IRRIGATION
  COMPANY, THE PALISADE IRRIGATION DISTRICT,
  AND CLIMAX MOLYBDENUM COMPANY FOR A
  DETERMINATION OF WATER RIGHTS

  IN SUMMIT, GRAND, GARFIELD, EAGLE, PITKIN,
  ROUTT, GUNNISON, RIO BLANCO, AND MESA
  COUNTIES
  James J. DuBois, Reg. No. 13206
  U.S. Department of Justice
  Environment and Natural Resources Division                  Case Number:
  999 18th Street
  South Terrace – Suite 370                                   Division:          Courtroom:
  Denver, CO 80202
  Phone Number: (303) 844-1375
  Fax Number:      (303) 844-1350
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    APPLICATION FOR A DETERMINATION OF WATER RIGHTS: CONFIRMATION OF
    ADMINISTRATIVE PROTOCOL FOR GREEN MOUNTAIN RESERVOIR AND OTHER
                              WATER RIGHTS

        BACKGROUND

         1.      THIS APPLICATION is filed pursuant to C.R.S. §37-92-302(1)(a) of the Water
 Right Determination and Administration Act to obtain, in accordance with the holding of
 Southern Ute Indian Tribe v. King Consolidated Ditch Company, 250 P.3d 1226 (Colo. 2011), a
 determination that Sections I, II, and III of the Green Mountain Reservoir Administrative
 Protocol (“GMR Protocol”), attached hereto as Exhibit 1 and incorporated herein by this
 reference, are consistent with the “Blue River Decree,” being the Findings of Fact, Conclusions
 of Law, and Final Decree in Consolidated Civil Cases No. 5016 and 5017, and the Findings of
 Fact, Conclusions of Law, and Final Judgment in Consolidated Civil Cases No. 2782, 5016 and
 5017, both entered on October 12, 1955 by the United States District Court, District of Colorado
 (“Federal Court”), and all amendments and supplemental orders, judgments, and decrees in said
 cases (collectively, the “Consolidated Cases”). Those Applicants in this matter that are also
 parties to the Consolidated Cases concurrently seek a similar determination from the Federal
 Court pursuant to that court’s retained jurisdiction in the Consolidated Cases.

        2.      Names and addresses of Applicants:

              United States of America (“United States”)
              Bureau of Reclamation
        11056 West County Road 18E
              (EC-1310)
              Loveland, CO 80537-9711

                City and County of Denver, acting by and through its Board of Water
                Commissioners (“Denver Water”)
                1600 W. 12th Ave.
                Denver, CO 80204

                City of Colorado Springs, acting through its enterprise Colorado Springs Utilities
                (“Colorado Springs Utilities”)
                c/o M. Pat Wells
                P.O. Box 1103, Mail Code 930
                Colorado Springs, CO 80947-0930

                Colorado River Water Conservation District
                Attention: General Manager
                201 Centennial Street, Suite 200
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                P.O. Box 1120
                Glenwood Springs, CO 81602
                (970) 945-8522

                Northern Colorado Water Conservancy District
                Attention: General Manager
                220 Water Avenue
                Berthoud, CO 80513
                (970) 532-7700

                Middle Park Water Conservancy District
                c/o Duane Scholl
                P.O. Box 145
                Granby, CO 80446
                (970) 887-3377

                Grand Valley Water Users Association
                Attn: Mark Harris, Manager
                1147 24 Road
                Grand Junction, CO 81505
                (970) 242-5065

                Grand Valley Irrigation Company
                Attn: Phil Bertrand, Superintendent
                668 26 Road
                Grand Junction, CO 81506
                (970) 242-2762

                Orchard Mesa Irrigation District
                Attn: Max Schmidt, Manager
                668 38 Road
                Palisade, CO 81526
                (970) 464-7885

                Palisade Irrigation District
                777 35 3/10 Road
                Palisade, CO 81526
                (970) 464-4700

                Climax Molybdenum Company
                (“Climax”)
                1742 County Road 202
                P.O. Box 68

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                Empire, CO 80438
                Attn: Bryce Romig
                303-569-3221 ext. 1204

        The United States, Denver Water, Colorado Springs Utilities, Colorado River Water
 Conservation District, Northern Colorado Water Conservancy District, Middle Park Water
 Conservancy District, Grand Valley Water Users Association, Grand Valley Irrigation Company,
 Orchard Mesa Irrigation District, and Palisade Irrigation District are parties to the Blue River
 Decree (“Blue River Decree Parties”). Applicant Climax is the owner of water rights decreed in
 Civil Action No. 1710, of the Summit County District Court entered on October 26, 1937
 (“C.A.1710”).

       3.     Description of Green Mountain Reservoir (“GMR”) and the Green Mountain
 Reservoir Powerplant (“GMR Powerplant”) Water Rights.

                 3.1.   Location: GMR is located approximately sixteen miles southeast of the
 town of Kremmling, in Summit County, Colorado, and more particularly in all or parts of
 Sections 11, 12, 13, 14, 15, and 24, Township 2 South, Range 80 West, and Sections 17, 18, 19,
 20, 21, 28, 29, 33, and 34, Township 2 South, Range 79 West of the 6th Principal Meridian.
 GMR is formed by the construction of Green Mountain Dam (“GMD”) across the Blue River.
 The GMR Powerplant is located adjacent to the downstream toe of the GMD and is also adjacent
 to the Blue River channel, in Section 15, Township 2 South, Range 80 West of the 6th Principal
 Meridian.

              3.2.     Source: Blue River and all tributaries upstream of the GMD, and Elliott
 Creek by means of its diversion canal.

               3.3. Date of Original Decree: October 12, 1955, Consolidated Civil Cases No.
 2782, 5016 and 5017, United States District Court, District of Colorado.

                3.4.    Priority Date: August 1, 1935.

                  3.5      Amounts: a direct flow right in the amount of 1,726 c.f.s. for generation of
 electrical power at the GMR Powerplant; a storage right in the amount of 154,645 acre-feet with
 the right to refill to the extent of an additional 6,316 acre-feet.

               3.6.    Uses: As provided in “Manner of Operations of Project Facilities and
 Auxiliary Features” in Senate Document No. 80, 75th Congress, 1st Session, (“S.D. 80”).

        4.     Description of Climax’s C.A.1710 Water Rights taken from the Decree in
 Consolidated Case Nos. 92CW233 and 92CW336 .



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                4.1.   The Supply Canal No. 1. The water rights for the Supply Canal No. 1 were
 decreed as follows on October 26, 1937 by the Summit County District Court in C.A.1710:

                        4.1.1. Sources: Humbug Creek, Mayflower Creek, Clinton Gulch Creek,
 and run-off, surface flow, and underground flow from the area above the Supply Canal No. 1, all
 of which are tributary to Tenmile Creek.

                        4.1.2. Points of diversion:

                              4.1.2.1.      on the west bank of Humbug Creek at a point
 whence the Northwest corner of Section 2, Township 8 South, Range 79 West, 6th P.M., bears
 south 3533’ west 22,680 feet;

                              4.1.2.2.      on the south bank of Mayflower Creek at a point
 whence the Northwest corner of Section 2, Township 8 South, Range 79 West, 6th P.M., bears
 south 3517’ west, 16,894 feet;

                              4.1.2.3.      on the south bank of Clinton Gulch Creek at a point
 whence the Northwest corner of Section 2, Township 8 South, Range 79 West, 6th P.M., bears
 south 4020’west 10,632 feet; and

                             4.1.2.4.         runoff, surface flow, and underground flow of the
 area above the Supply Canal No. 1 as it runs between the above-described points of diversion
 and to the Climax Mine.

                        4.1.3. Amounts:

                                4.1.3.1.       Humbug Creek: 20.0 c.f.s.

                                4.1.3.2.       Mayflower Creek: 30.0 c.f.s.

                                4.1.3.3.       Clinton Gulch Creek: 50.0 c.f.s.

                               4.1.3.4.        Run-off, surface flow, and underground flow of the
 area above the line of Supply Canal No. 1.

                                   4.1.3.5.      Storage in Robinson Reservoir of 3,136 acre-feet,
 with right of refill, as finally decreed by the Eagle County District Court in Civil Action Nos.
 970 and 1193. Robinson Reservoir is a 3,136 acre-feet reservoir located in the drainage of the
 East Fork of the Eagle River in the Southwest ¼ of Section 34 and the Southeast ¼ of Section
 33, all in Township 7 South, Range 79 West, 6th P.M.



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                                   4.1.3.6.       Storage in Chalk Mountain Reservoir of 204.1 acre-
 feet, with right of refill, as finally decreed by the Eagle County District Court in Civil Action No.
 1193. Chalk Mountain Reservoir is a 205 acre-feet reservoir located in the drainage of the East
 Fork of the Eagle River in the Southwest corner of Section 34, Township 7 South, Range 79
 West, 6th P.M.

                        4.1.4. Appropriation date: August 15, 1935.

                        4.1.5. Historical use: mining, milling, manufacturing, and domestic
 purposes at the Climax Mine. The amount and timing of the historical diversions and
 consumptive use of the water rights were determined by the Division 5 Water Court in Case Nos.
 92CW233 and 92CW336. The water rights remain subject to said determinations and the terms
 and conditions of the 92CW233 and 92CW336 decree.

                 4.2.   The Supply Canal No. 2. The water rights for the Supply Canal No. 2
 were decreed on October 26, 1937 by the Summit County District Court in C.A.1710. In
 addition, the decreed points of diversion for Supply Canal No. 2 were changed on June 14, 1962
 by the Summit County District Court in Civil Action No. 2122.

                     4.2.1. Sources: Searle Creek, Kokomo Creek, and run-off, surface flow,
 and underground flow of the area above the Supply Canal No. 2, all of which are tributary to
 Tenmile Creek.

                        4.2.2. Points of diversion:

                              4.2.2.1.     on the west bank of Searle Creek at a point whence
 U.S.L.M. Kokomo bears South 4558’ east 3740 feet (located in the Southwest ¼ of the
 Southeast ¼ of Section 15, Township 7 South, Range 79 West, 6th P.M.);

                             4.2.2.2.     on the south bank of Kokomo Creek at a point
 whence U.S.L.M. Kokomo bears North 3936’ East 2635 feet (located in the Southwest ¼ of
 Section 22, Township 7 South, Range 79 West, 6th P.M.); and

                             4.2.2.3.         run-off, surface flow, and underground flow of the
 area above the Supply Canal No. 2 as it runs between the above-described points of diversion
 and to the Climax Mine.

                        4.2.3. Amounts:

                                4.2.3.1.       Searle Creek: 35.0 c.f.s.

                                4.2.3.2.       Kokomo Creek: 25.0 c.f.s.


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                               4.2.3.3.        Run-off, surface flow, and underground flow of the
 area above the line of Supply Canal No. 2.

                                   4.2.3.4.      Storage in Robinson Reservoir of 3,136 acre-feet,
 with right of refill, as finally decreed by the Eagle County District Court in Civil Action Nos.
 970 and 1193.

                                   4.2.3.5.       Storage in Chalk Mountain Reservoir of 204.1 acre-
 feet, with right or refill, as finally decreed by the Eagle County District Court in Civil Action No.
 1193.

                        4.2.4. Appropriation date: August 15, 1935.

                        4.2.5. Historical use: mining, milling, manufacturing, and domestic
 purposes at the Climax Mine. The amount and timing of the historical diversions and
 consumptive use of the water rights were determined by the Division 5 Water Court in Case Nos.
 92CW233 and 92CW336. The water rights remain subject to said determinations and the terms
 and conditions of the 92CW233 and 92CW336 decree.

                4.3. The Tenmile Diversion Ditch No. 1 and the Tenmile Diversion Ditch No.
 2. The water rights for the Tenmile Diversion Ditch No. 1 and the Tenmile Diversion Ditch No.
 2 were originally decreed on October 26, 1937 by the Summit County District Court in Civil
 Action 1710. On July 24, 1945, the Summit County District Court entered a decree in Civil
 Action 1830 changing the points of diversion of a portion of the water rights for the Tenmile
 Diversion Ditch No. 1 and all of the water rights for the Tenmile Diversion Ditch No. 2 to the
 Tailings Riser Line, described below:

 Headgate      Tailings
   No.         Riser No.                                                 Bearing            Distance
    1             20        NW Corner, Section 2, Township 8        South 3127’ East      567.8 feet
                            South, Range 79 West
      2            37       NW Corner, Section 2, Township 8        North 1708’ East      804.5 feet
                            South, Range 79 West
      3            38       NW Corner, Section 2, Township 8        North 1721’ West      1275.2
                            South, Range 79 West                                           feet
      4            39       West ¼ Corner, Section 2,               South 2549’ West      1502.8
                            Township 8 South, Range 79 West                                feet
      5            40       West ¼ Corner, Section 2,               South 7110’ West      1066.1
                            Township 8 South, Range 79 West                                feet
      6            41       West ¼ Corner, Section 2,               North 6531’ West      1592.8
                            Township 8 South, Range 79 West                                feet



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                        4.3.1. The Tenmile Diversion Ditch No. 1:

                              4.3.1.1.      Sources: Tenmile Creek and the run-off, surface
 flow, and underground flow from the area above the line of the Tenmile Diversion Ditch No. 1.

                                4.3.1.2 Amounts:

                                        4.3.1.2.1.     20.0 c.f.s. from Tenmile Creek.

                                       4.3.1.2.2.    Run-off, surface flow, and underground
 flow from the area above the line of the Tenmile Diversion Ditch No. 1.

                                           4.3.1.2.3.     Storage in Robinson Reservoir of 3,136
 acre-feet, with right of refill, as finally decreed by the Eagle County District Court in Civil
 Action Nos. 970 and 1193.

                                          4.3.1.2.4.     Storage in Chalk Mountain Reservoir of
 204.1 acre-feet, with right of refill, as finally decreed by the Eagle County District Court in Civil
 Action No. 1193.

                                4.3.1.3.       Appropriation date: June 4, 1936.

                               4.3.1.4.      Historical use: mining, milling, manufacturing, and
 domestic purposes at the Climax Mine. The amount and timing of the historical diversions and
 consumptive use of the water rights were determined by the Division 5 Water Court in Case
 Numbers 92CW233 and 92CW336. The water rights remain subject to said determinations and
 the terms and conditions of the 92CW233 and 92CW336 decree.

                        4.3.2. The Tenmile Diversion Ditch No. 2:

                              4.3.2.1.      Sources: Tenmile Creek and the run-off, surface
 flow, and underground flow from the area above the line of Tenmile Diversion Ditch No. 2.

                                4.3.2.2.        Amounts:

                                        4.3.2.2.1.     20.0 c.f.s. from Tenmile Creek.

                                       4.3.2.2.2.    Run-off, surface flow, and underground
 flow from the area above the line of Tenmile Diversion Ditch No. 2.

                                           4.3.2.2.3.     Storage in Robinson Reservoir of 3,136
 acre-feet, with right of refill, as finally decreed by the Eagle County District Court in Civil
 Action Nos. 970 and 1193.

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                                          4.3.2.2.4.     Storage in Chalk Mountain Reservoir of
 204.1 acre-feet, with right of refill, as finally decreed by the Eagle County District Court in Civil
 Action No. 1193.

                                4.3.2.3.       Appropriation date: June 4, 1936.

                              4.3.2.4.       Historical use: mining, milling, manufacturing, and
 domestic purposes at the Climax Mine. The amount and timing of the historical diversions and
 consumptive use of the water rights were determined by the Division Water Court in Case Nos.
 92CW233 and 92CW336. The water rights remain subject to said determinations and the terms
 and conditions of the 92CW233 and 92CW336 decree.

                 4.4. McNulty Ditch (a.k.a. Ten Mile Diversion Ditch No. 1). The decreed
 point of diversion for the McNulty Ditch is a point on the north bank of McNulty Gulch Creek
 whence the North ¼ Corner of Section 2, Township 8 South, Range 79 West, 6th P.M., bears
 South 6050’ West 729.4 feet. The water right for the McNulty Ditch consists of 15.0 c.f.s., plus
 run-off, surface flow and underground flow, and constitutes that portion of the water rights for
 the Ten Mile Diversion Ditch No. 1 that were adjudicated to McNulty Gulch Creek on October
 26, 1937 by the Summit County District Court in C.A.1710. The applicable portion of the Ten
 Mile Diversion Ditch No. 1 water right was transferred to the McNulty Ditch from the Ten Mile
 Diversion Ditch No. 1 pursuant to a decree entered by the Summit County District Court on July
 24, 1945 in Civil Action No. 1829. As transferred, the McNulty Ditch water right is as follows:

                     4.4.1. Sources: McNulty Gulch Creek and run-off, surface flow, and
 underground flow from the area above the ditch.

                        4.4.2. Amounts:

                                4.4.2.1.       15.0 c.f.s. from McNulty Gulch Creek.

                             4.4.2.2.          Run-off, surface flow, and underground flow from
 the area above the McNulty Ditch.

                                   4.4.2.3.      Storage in Robinson Reservoir of 3,136 acre-feet,
 with right of refill, as finally decreed by the Eagle County District Court in Civil Action Nos.
 970 and 1193.

                                   4.4.2.4.       Storage in Chalk Mountain Reservoir of 204.1 acre-
 feet, with right of refill, as finally decreed by the Eagle County District Court in Civil Action No.
 1193.

                        4.4.3. Appropriation date: June 4, 1936


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                        4.4.4. Historical use: mining, milling, manufacturing, and domestic
 purposes at the Climax Mine. The amount and timing of the historical diversions and
 consumptive use of the water rights were determined by the Division 5 Water Court in Case Nos.
 92CW233 and 92CW336. The water rights remain subject to said determinations and the terms
 and conditions of the 92CW233 and 92CW336 decree.

        5.      Description of Colorado Springs Utilities’ 1948 Blue River Water Rights:

                5.1     Blue River Ditch.

                        5.1.1 Location: At a point from whence the East quarter corner of
 Section 2, Township 8 South, Range 78 West of the 6th Principal Meridian is South 80° 44' East
 a distance of 2,096 feet.

                        5.1.2   Source: Blue River.

                        5.1.3 Date of Original Decree: March 10, 1952 (CA 1806, Summit
 County District Court); October 12, 1955 (Consolidated Civil Cases Nos. 2782, 5016 and 5017,
 United States District Court, District of Colorado).

                        5.1.4   Priority Date: May 13, 1948.

                        5.1.5   Amount: 200 c.f.s.

                        5.1.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.2     Crystal Ditch.

                        5.2.1 Location: At a point from whence the Northwest corner of Section
 2, Township 8 South, Range 78 West of the 6th Principal Meridian is South 19° 34' West a
 distance of 18,245 feet.

                        5.2.2 Source: Crystal Creek.

                        5.2.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.2.4   Priority Date: May 13, 1948.

                        5.2.5   Amount: 40 c.f.s.


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                        5.2.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.3     Spruce Ditch.

                        5.3.1 Location: At a point from whence the Northwest corner of Section
 2, Township 8 South, Range 78 West of the 6th Principal Meridian is South 23° 56' West a
 distance of 12,810 feet.

                        5.3.2 Source: Spruce Creek.

                        5.3.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.3.4   Priority Date: May 13, 1948.

                        5.3.5   Amount: 60 c.f.s.

                        5.3.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.4     McCullough Ditch.

                         5.4.1 Location: At a point from whence the Northwest corner of Section
 2, Township 8 South, Range 78 West of the 6th Principal Meridian is South 28° 23' West a
 distance of 6,085 feet.

                        5.4.2   Source: McCullough Gulch Creek.

                        5.4.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.4.4   Priority Date: May 13, 1948.

                        5.4.5   Amount: 60 c.f.s.

                        5.4.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.


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                5.5     East Hoosier Ditch.

                         5.5.1 Location: At a point from whence the Southwest corner of Section
 6, Township 8 South, Range 77 West of the 6th Principal Meridian is South 57° 36' West a
 distance of 388.8 feet.

                        5.5.2   Source: East Hoosier Creek.

                        5.5.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.5.4   Priority Date: May 13, 1948.

                        5.5.5   Amount: 50 c.f.s.

                        5.5.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.6     Hoosier Ditch (Claim No. 1).

                        5.6.1 Location: (Hoosier Creek headgate): On the west bank of Hoosier
 Creek at a point from whence the Northeast corner of Section 12, Township 8 South, Range 78
 West of the 6th Principal Meridian is North 64° 35' East a distance of 877.8 feet.

                        5.6.2   Source: Hoosier Creek.

                        5.6.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.6.4   Priority Date: May 13, 1948.

                        5.6.5   Amount: 40 c.f.s.

                        5.6.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.7     Hoosier Ditch (Claim No. 2).

                         5.7.1 Location: (Silver Creek headgate): On the west bank of Silver
 Creek where said ditch crosses Silver Creek at a point from whence the West Quarter corner of
 Sect. 1, T. 8 S., R. 78 W. of the 6th P.M. is N. 48° 33' W. a distance of 1,375.8 feet.

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                        5.7.2 Source: Silver Creek.

                        5.7.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.7.4   Priority Date: May 13, 1948.

                        5.7.5   Amount: 20 c.f.s.

                        5.7.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.8     Ditch Inflow.

                       5.8.1 Location: Along the ditches between the points of diversion
 (described in paragraphs 4.1.1; 4.2.1; 4.3.1; 4.4.1; 4.5.1; 4.6.1; and 4.7.1) and delivery to the
 Hoosier Tunnel (described in paragraph 4.9.1).

                        5.8.2   Source: Water intercepted by the ditches.

                        5.8.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.8.4   Priority Date: May 13, 1948.

                        5.8.5   Amount: 50 c.f.s.

                        5.8.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.9     Hoosier Tunnel.

                        5.9.1 Location: The place of beginning of said tunnel is located at a
 point from whence the East Quarter corner of Sec. 2, T. 8 S., R. 78 W. of the 6th P.M. is N. 34°
 33' E. a distance of 510.6 feet.

                        5.9.2   Source: Water seeping into and being intercepted by the tunnel.

                        5.9.3 Date of Original Decree: March 10, 1952; October 12, 1955.


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                        5.9.4   Priority Date: May 13, 1948.

                        5.9.5   Amount: 20 c.f.s.

                        5.9.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.10    Upper Blue Lake.

                        5.10.1 Location: Across the channel of the Blue River with the initial
 point of survey at a point whence the Northeast corner of Section 3, Township 8 South, Range 78
 West of the 6th Principal Meridian bears North 66° 30' East 3,728 feet.

                        5.10.2 Source: Blue River.

                        5.10.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.10.4 Priority Date: May 13, 1948.

                        5.10.5 Amount: 2,140 acre-feet.

                       4.10.6 Uses: Municipal, domestic, irrigation and other beneficial uses in
 the City of Colorado Springs.

                5.11    Lower Blue Lake.

                       5.11.1 Location: The initial point of survey is at a point whence the
 Northeast corner of Section 3, Township 8 South, Range 78 West of the 6th P.M. bears North 54°
 East 503 feet.

                        5.11.2 Source: Blue River.

                        5.11.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.11.4 Priority Date: May 13, 1948.

                        5.11.5 Amount: 1,006 acre-feet.

                      5.11.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,


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 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.12    Spruce Lake.

                        5.12.1 Location: The initial point of survey is at a point whence the
 Northeast corner of Section 22, Township 7 South, Range 78 West of the 6th P.M. bears North
 12° 44' East 5,780 feet.

                        5.12.2 Source: Spruce Creek.

                        5.12.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.12.4 Priority Date: May 13, 1948.

                        5.12.5 Amount: 1,542 acre-feet.

                        5.10.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

                5.13    Mayflower Lake.

                        5.13.1 Location: The initial point of survey is at a point whence the
 Northeast corner of Section 22, Township 7 South, Range 78 West of the 6th P.M. bears North
 43° 44' East 4,770 feet.

                        5.13.2 Source: Spruce Creek.

                        5.13.3 Date of Original Decree: March 10, 1952; October 12, 1955.

                        5.13.4 Priority Date: May 13, 1948.

                        5.13.5 Amount: 618 acre-feet.

                        5.10.6 Uses: By and for the benefit of the inhabitants of the City of
 Colorado Springs and adjacent areas for domestic uses, fire protection, sewage disposal,
 manufacturing and industrial uses, street sprinkling and flushing, and the irrigation of lawns,
 trees, gardens, flowers, and parks, and other municipal purposes.

        6.      Description of Denver Water’s 1946 Blue River Water Rights:


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                 6.1      Location. The Blue River Diversion Project stores water in Dillon
 Reservoir and diverts water from the Blue River, the Snake River, and Ten Mile Creek and their
 tributaries through the Harold D. Roberts Tunnel, the west portal of which is located at a point
 whence the East quarter corner of Section 18, Township 5 South, Range 77 West of the 6th P.M.
 bears South 81°07’ East 941.6 feet.

                6.2      Source: The sources of water for the Blue River Diversion Project are
 the Blue River, the Snake River, and Ten Mile Creek, all of which are tributaries of the Colorado
 River; and the waters naturally tributary thereto.

                 6.3      Date of Original Decree: March 10, 1952, Summit County District
 Court; October 12, 1955, Consolidated Civil Cases Nos. 2782, 5016 and 5017, United States
 District Court, District of Colorado.

                6.4      Appropriation date: June 24, 1946.

                 6.5      Amounts: The Blue River Diversion Project was decreed conditional
 priorities 139(c) and 366(c) for 788 c.f.s. from the Blue River; conditional priorities 140(c) and
 367(c) for 788 c.f.s. from the Ten Mile Creek; and conditional priorities 141(c) and 368(c) for
 788 c.f.s. from the Snake River providing no more than 788 c.f.s. shall be taken through any
 combination of the above described sources. In addition, Dillon Reservoir was decreed
 conditional reservoir priorities 80(c) and 8(c) for 252,678 acre-feet. To date, the Dillon
 Reservoir storage right has been confirmed absolute in the amount of 252,678 acre-feet and the
 Roberts Tunnel direct flow right has been confirmed absolute in the rate of 520 c.f.s. A claim is
 pending to make 654 c.f.s. of the Roberts Tunnel direct flow right absolute in Case No.
 2006CW255.

                6.6      Use: All municipal uses including domestic use, mechanical use,
 manufacturing use, fire protection, street sprinkling, watering of parks, lawns and grounds as
 more fully described in the Second Amended Application filed in Case No. 2006CW255.

        DETERMINATION OF WATER RIGHTS.

        7.      Procedural History.

                 7.1    Water Court Jurisdiction. This application seeks a determination of water
 right, in accordance with the holding of Southern Ute Indian Tribe v. King Consolidated Ditch
 Co. 250 P.3d 1226, 1233 (Colo. 2011), confirming that Sections I, II, and III of the GMR
 Protocol are consistent with the Blue River Decree, and an order directing that administration be
 carried out in accordance with the GMR Protocol.

                 7.2     GMR Water Rights Adjudicated by the Blue River Decree. The United
 States has a priority date of August 1, 1935 for the Colorado-Big Thompson Project from the

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 Blue River and its tributaries for a 1726 c.f.s. direct flow right for the generation of electrical
 power at the GMR Powerplant (“GMR Power Right”), and a storage right for 154,645 acre-feet
 in GMR (“1935 First Fill Storage Right”) with the right to refill to the extent of an additional
 6,316 acre-feet (“GMR Senior Refill Right”), as more fully described in Paragraph 3 above. The
 United States also operates exchanges involving Green Mountain Reservoir as of that priority,
 and the August 1, 1935 priority of the direct flow, storage, and exchange rights for the operation
 of the facilities at GMR is administered as though adjudicated in the first available adjudication
 following that date, i.e., “without postponement for any reason.” Decree Consolidated Civil
 Nos. 2782, 5016 5017, 88CW382, ¶¶ 1 and 4, November 10, 1992. The GMR Senior Refill
 Right is exercised by subsequent storage after the release of water from the first fill.

                 7.3  Except as provided in the Blue River Decree, use by the United States
 through the GMR Powerplant of water that would otherwise be available for storage is an
 exercise of the GMR Power Right and not a bypass or failure to exercise any storage right. Case
 No. 88CW22, ¶ 10 at 3.

                  7.4     Denver Water’s 1946 Blue River Water Rights. Denver Water has, inter
 alia, a priority date of June 24, 1946 from the Blue River and its tributaries for 788 c.f.s. of direct
 flow for the Roberts Tunnel and for 252,678 acre-feet of storage for Dillon Reservoir, both for
 municipal purposes, as more fully described in Paragraph 6 above.

                  7.5     Colorado Springs’ 1948 Blue River Water Rights. Colorado Springs
 Utilities has, inter alia, a priority date of May 13, 1948 for 400 c.f.s. direct flow and 5,306 acre-
 feet of storage from the Blue River and its tributaries for the Continental-Hoosier Diversion
 System, both for municipal purposes, as more fully described in Paragraph 5 above.

                   7.6    Cities’ Diversions. Notwithstanding their priority dates, and subject to the
 decision of the Secretary of the Interior that it will not adversely affect the ability of GMR to
 fulfill its function as set forth in the “Manner of Operations of Project Facilities and Auxiliary
 Features” contained in S.D. 80, except as to production of power, diversions by Denver Water
 and Colorado Springs Utilities (collectively, the “Cities”) may be made as approved by the
 Secretary after the snow pack has been estimated by the United States and a determination has
 been made that it is reasonably probable that GMR will be filled during the season. Findings of
 Fact and Conclusions of Law, Consolidated Cases 2782, 5016, 5017 at p. 30 (Stipulation ¶ 4);
 Supplemental Decree Consolidated Cases 2782, 5016, 5017, February 9, 1978 ¶ 4(a).

        8.      Administrative Controversies

                8.1     GMR Fill Administration. Since the adjudication of the GMR water rights
 in 1955, the administration of its fill has varied; this has adversely affected the rights of the
 Applicants. GMR is currently administered pursuant to an Interim Policy of the State and
 Division Engineers that some of the Blue River Decree Parties contend adversely affects their
 rights under the Blue River Decree. The disagreement regarding the Interim Policy and its effect

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 on the rights and obligations of the Blue River Decree Parties has resulted in controversy and
 anticipated litigation among the Applicants and others.

                 8.2     Climax. In addition, since the Blue River Decree was entered in 1955, the
 administration of the priorities for Climax’s C.A.1710 Water Rights vis-à-vis those adjudicated
 in the Blue River Decree for the GMR Water Rights, has varied, has resulted in litigation, and is
 likely to lead to additional litigation. In addition, Climax’s C.A.1710 Water Rights are currently
 tabulated by the Colorado State Engineer as junior in priority to the water rights for GMR
 adjudicated in the Blue River Decree. As more particularly set forth in the GMR Protocol, the
 Applicants believe that Section III of the Administrative Protocol describes the relative priority
 of Climax’s C.A.1710 Water Rights in a manner consistent with the Blue River Decree.

                  8.3     GMR Protocol. The Applicants have negotiated and agreed to the GMR
 Protocol, comprising Sections I, II, III and IV, in order to clarify and implement certain
 provisions of the Blue River Decree by (1) setting forth a protocol for, among other things, (a)
 preparation, review, and modification of a fill schedule for GMR; (b) definition and
 administration of a fill season for exercise of the 1935 First Fill Storage Right; (c) administration
 of water rights during the fill season; and (d) operation of the GMR water rights and the water
 rights of the Cities in response to downstream calls senior to the Cities’ water rights; (2) making
 as much water as possible available for upstream use, including use by the Cities, without
 impairment of the fill of GMR and without impairment of legal calls of downstream water rights;
 (3) providing a clear definition of the Cities’ replacement obligation operations pursuant to the
 Blue River Decree; (4) ensuring that the administration of the GMR water rights does not allow
 the water rights of the Cities to benefit improperly; (5) reducing as much as possible or
 potentially eliminating the extent to which the bypass of 60 c.f.s. by GMR is accounted toward
 the fill of the GMR storage rights, and assuring, to the extent possible, the refilling of GMR to
 the extent that such bypass is accounted toward the fill of the GMR storage rights; and (6)
 addressing the relative priority of the GMR water rights, the Cities’ water rights, and Climax’s
 C.A.1710 Water Rights in a manner agreed by the Blue River Decree Parties and Climax; all in a
 manner that is consistent with the Blue River Decree. Only Sections I, II and III of the GMR
 Protocol are the subject of this Application.

        9.      Concurrent Federal Court Proceeding.

                  9.1      Federal Court Petition. Concurrent with the filing of this Application, the
 Applicants that are Blue River Decree Parties are filing a Petition in the federal court invoking
 the jurisdiction retained by that court in the Consolidated Cases, to seek (1) a determination that
 Sections I, II, III of the GMR Protocol are consistent with the Blue River Decree; and (2) a
 determination that Section IV of the GMR Protocol is consistent with the Blue River Decree.

                  9.2     Desired Procedure. It is the intention of the Applicants that all persons
 and entities filing statements of opposition to this Application be entitled to participate fully in
 the judicial proceedings, either in this Court or the Federal Court, to determine whether Sections

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 I, II and III of the GMR Protocol are consistent with the Blue River Decree. Accordingly, after
 expiration of the statutory time for filing statements of opposition to this application, the
 Applicants will request: (1) entry by the Federal Court of a procedural order specifying that the
 procedures set forth in the Federal Court’s Order of August 4, 1977 (Regarding Further
 Proceedings Consonant With the Colorado Water Right Determination and Administration Act
 of 1969) in the Consolidated Cases will apply to that part of the Federal Court proceeding
 seeking a determination that Sections I, II, and III of the GMR Protocol are consistent with the
 Blue River Decree, and to that part of the Federal Court proceeding only; and (2) a stay of
 proceedings in this Court pending the exercise of retained jurisdiction, and entry of a
 determination regarding Sections I, II, and III of the GMR Protocol, by the Federal Court.

        10.     Notice

                10.1 Notice of this Application, including the full text of Sections I, II, and III
 of the GMR Protocol, shall be provided in the resume of this Application, and by newspaper
 publication in Summit, Grand, Garfield, Eagle, Pitkin, Routt, Gunnison, Rio Blanco, and Mesa
 Counties, as well as in any other county in which publication is ordered by this Court.

                 10.2 This Application does not involve any new diversion or storage structure,
 or modification to any existing diversion or storage structure or existing storage pool. Therefore,
 no notice is required to the owner of the land pursuant to C.R.S. § 37-92-302(2)(b)(II).
 Moreover, the owner of the land upon which GMR is constructed and in which water is stored is
 the United States, an Applicant herein.

       11.     Nothing in this Application or proceeding is intended to request or adjudicate a
 change to any of the water rights described herein.

         WHEREFORE, Applicants seek a determination confirming that Sections I, II, and III of
 the GMR Protocol are consistent with the Blue River Decree and directing that administration be
 carried out in accordance with Sections I, II, and III of the GMR Protocol.




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 Carlson, Hammond & Paddock, L.L.C.                  Ryley Carlock and Applewhite

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 Williams, Turner & Holmes, P.C.                 Dufford Waldeck Milburn & Krohn, LLP

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                                           VERIFICATION


   STATE OF COLORADO                             )
                                                 )ss.
   CITY AND COUNTY OF DENVER                     )



   I, William G. Bates, Manager of Water Rights Protection for the Board of Water Commissioners,
   City and County of Denver, being first duly sworn, hereby state that I have read this Application,
   that I have personal knowledge of the facts stated and, that I verify its contents to the best of my
   knowledge, information, and belief.



                                                                                        0v
                                                             6 ~/`^✓
                                                 William G. Bates


            Subscribed and sworn to before me this       day of November, 2013 by William G.
   Bates.

            Witness my hand and official seal.

            My commission expires:



                TRACY MARK 4~A~~
                   NOTigRY 1~UBUe
        r       STATE C1F COL~1RApp
               ~t(}TARY Id 24124Q63059
        (~Y COPAMlSSIQN
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                                             VERIFICATION


   STATE OF COLORADO
                                      )ss.
   COUN'T'Y OF GAKFIELD



   I, John Currier, Chief Engineer for the Colorado River Water Conservation District, being first
   duly sworn, hereby state that I have read this Application, that I have personal knowledge ofthe
   facts stated and, that I verify its contents t~ the best of my knowledge,information, and belief.

                                                      N'~^   /
                                                     r       /

                                                      :!

                                                ~     Currier


         Subscribed and sworn t~ before me this 1.4~' day o:ENovember,2013 by John Currier,
  Cluef Engineer for the Colorado River Water Conservation District.

           Witness my hand and official seal.

           My commission expires: 7/11/2015




            ,' ~OR~A ';                             rr Nicho s, No •   Public
               NicHO~.s
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           ~.o~
    My Commission Expires 071111201




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                                              VERIFICATION


      STATE OF COLORADO             )
                                    )ss.
      COtNTY OF Lar ~~,er           ~


                        qSS/S T/S~ T
     I, Donald Carlson, Bcpn4p General Manager, Northern Colorado Water Conservancy District,
     being first duly sworn, hereby state that I have read this Application, that I have personal
     knowledge of the facts stated and, that I verify its contents to the best of my knowledge,
     information, and belief.



                                                                 l
                                                    Donald Carlson
                                                                                               ~~m
                                                         ~                         pd,~.Q1 d
             Subscribed and sworn to before me this ~s day of November, 2013 by ~g Carlson


             Vb'itness my hand and official seal.

             My commission expires:                        3U / ~~``~'


               REBECCA D MORRIS
                  Nohry PubNc
                State of Colorado                   Notary Public
           Commission ~► 18964016647
        My Commission Expires Ju130, 2016




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                                              VERIFICATION


      STATE OF COLORADO             )
                                    )ss.
      COUNTY OF EI PASO             )


              I, Kevin Lusk, Principal Engineer for Colorado Springs Utilities, being first duly sworn,
      hereby state that I have read this Application, that I have personal knowledge of the facts stated
      and, that I verify its contents to the best of my knowledge, inf rmation, and belief.




                                                    Kev n Lu

                                                                  r
             Subscribed and sworn to before me this /Sr day of%G~~~,2013 Uy Kevin Lusk.

             Witness my hand and official seal.

             My commission expires:                /~i.Z~/




                                                    Notary Public



                                                       DEBRA A. MAZZA
                                                         NOTARY PUBLIC
                                                      STAT E'OF CO~ORA~O
                                                     NOTARY IDy 79974009022
                                                MY COMMISSION EkPIRES MAY 19..2017




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                                            VERIFICATION


   STATE OF COLORADO                      )
                                          )ss.
   COUNTY OF CLEAR CREEK                  )



   I, Bryce Romig, Manager for Environment, Land and Water, Climax Molybdenum Company,
   being first duly sworn, hereby state that I have read this Application, that I have personal
   knowledge of the facts stated and,that I verify its contents to the best of my knowledge,
   information, and belief.




                                                 Bryce Romig


           Subscribed and sworn to before me this 1Z~ day ofNovember,2013 by Bryce Romig


           Witness my hand and official seal
                                                            ~isA cROSs
                                                           N07ARY PUBLIC
           My COIT11111SS1O11 eXp1PeS:                NOTARY ID # 2pro~r,^ -~-.. ~
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                                                 Notary Public




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                                              VERIFICATION


  STATE OF COLORADO              )
                                 )ss.
  COUNTY OF GRAND                )



  I, Duane Scholl, President of Middle Park Water Conservancy District, being first duly sworn,
  hereby state that I have read this Application, that I have personal knowledge of the facts stated
  and, that I verify its contents to the best of my knowledge, information, and belief.



                                                                        —~I.~J~
                                                 Du      choll


         Subscribed and sworn to before me this 12th day of November, 2013 by Duane Scholl.

         Witness my hand and official seal.

         My commission expires:         ~~~~7         ~~ c 7

                 CLAUDIA SALE                           ~
                NOTARY PUBLIC                         ~ ~.{~
            STATE OF COLORADO
            N07ARY ID 19974009237                Notar3' Public
         My Commission Expires May 27, 2017




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                                            VERIFICATION


    STATE OF COLORADO             )
                                  }ss.
    COUNTY OF MESA                )



    I, Mark Harris, Manager of Grand Valley Water Users Association, being first duly sworn,
    hereby state that I have read this Application, that 1 have personal knowledge of the facts stated
    and, that I verify its contents to the best of my knowledge, information, and belief.



                                                                                   ~~
                                                  Mark Harris


           Subscribed and sworn to before me this I~ _day of November, 2013 by Mark Harris.

           Witness my hand anal official seal.

           My commission expires.             ~ ~ ~~


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                                              VERIFICATION


    STATE OF COLORADO
                                       )ss.
    COUNTY OF MESA



    I, Max Schmidt, Manager of the Oa•cl~ard Mesa lrrigatinn District, being first daily sworn, hereby
    state that 7 have read this Application, that 1 have personzl knowledge of the facts st~~ted and, that
    I verify its coi~tecats to the best of my knowledge, information, and belief.



                                                                 ~~
                                                            Sc~--- ___.^...
                                                   M. ax.


            Subscribed at~d sworn to before me this ~~~` day of November, 2013 by Max Schmidt.
            Witness any ha~id at3d official seal.

            My commission expi.res:_c'~~7_"__`.~~~



      MARI.YS J. BERNAL                          ~                   ~       ~--   ~_
     NdTARY PUBt~C STATE Of COLORADO
                                                     ota     Pub " ~ ~`~ ~
      y ommR»sion xpires 02/14I2~1Q




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                                                  VERIFICATION


    STATE OF COLQR.ADO                 )
                                       )ss.
    COUNTY OF _/~~gL                   )



    r, `~~J~1 11 Y1,~~?Q,i~I               ,being first duly sworn, hereby state that I have read this
    Application, that I have personal knowledge of the facts stated and, that I verify its contents to
    the best of my knowledge, infprmation, and belief.




           Subscribed an sworn to before me this~day of November, 20l 3 by              hn ~YI,~IYIQrl,
           ~resJder~f °~ dalisade Irri afi~on b;s~-icf:
           Witness my hand and official seal.

           My commission expires. /~l~?g~e~~~,~j`




                                                      Notary Public

            AMANDA D. HOWARD
              sYAre o~ ca~.owwt>
                    NOTAi~Y PUBLEC
            NOTARY JD #20074043938
          My Cn+~anisaior~ Expi~sNoven~1r21~~1S




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